                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

ELIZABETH LUBECK and                            )     Case No. 1:20-cv-04881
ALAN LUBECK,                                    )
                                                )     Honorable Sharon Johnson Coleman
                Plaintiffs,                     )
   vs.                                          )
                                                )
ALLIANT CAPITAL MANAGEMENT,                     )
LLC,                                            )
                                                )
                Defendant.                      )
                                   NOTICE OF DISMISSAL

         Plaintiffs, Elizabeth Lubeck and Alan Lubeck, by and through undersigned counsel,

pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), hereby dismiss all claims asserted in

this action against Defendant, Alliant Capital Management, LLC, with prejudice, each party to

bear their/its own costs.

Dated: October 2, 2020                              Respectfully submitted,

                                                    Elizabeth Lubeck and Alan Lubeck

                                                    By: /s/ Rusty Payton
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